                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                               DOC #:
SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED:June 9, 2021
--------------------------------------------------------------X
 ULKU ROWE,                                                   :
                                                              :
                                                              :
                                             Plaintiff(s), :        19 Civ. ________
                                                                  _____     8655     (LGS)
                                                              :        AMENDED
                           -against-                          :    ORDER OF REFERENCE
                                                              :           TO A
 GOOGLE LLC                                                   :     MAGISTRATE JUDGE
                                                              :
                                             Defendant(s). :
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LORNA G. SCHOFIELD, District Judge:

The above entitled action is referred to the Hon. Kevin Nathaniel Fox
United States Magistrate Judge, for the following purpose(s):

_____ GENERAL PRE-TRIAL (includes                            _____ HABEAS CORPUS
scheduling, discovery, non-dispositive pre-trial
motions and settlement)                                      _____ INQUEST AFTER DEFAULT /
                                                             DAMAGES HEARING
_____ GENERAL PRE-TRIAL &
DISPOSITIVE MOTION (all purposes except                      _____ SOCIAL SECURITY
trial)
                                                               ✔ SETTLEMENT
                                                             _____
_____ DISPOSITIVE MOTION (i.e., a motion
requiring a Report & Recommendation)                         _____ CONSENT UNDER 28 U.S.C. 636(c)
                                                             FOR ALL PURPOSES (including trial)
_____ SPECIFIC NON-DISPOSITIVE
MOTION / DISPUTE (including discovery                        _____ CONSENT UNDER 28 U.S.C. 636(c)
dispute) *                                                   FOR LIMITED PURPOSE OF

_______________________________________                      _______________________________________

_______________________________________                      _______________________________________

_____ JURY SELECTION


SO ORDERED.

Dated: _________________
       June 9, 2021
       New York, New York

* Do not check if already referred for General Pre-Trial.
